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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Hamdi Ali Osman,

               Plaintiff,

v.                                                 Civil No. 16-cv-908 (JNE/TNL)

Heather Weyker, in her individual
capacity as a Saint Paul Police
Officer,

            Defendant.
_________________________

Andrew Kayachith,

               Plaintiff,

v.                                                 Civil No. 18-cv-326 (PAM/SER)

Heather Weyker, Sergeant
John Bandemer, City of
St. Paul and Robert Roes, 1-3,

               Defendants.


                  ORDER OF DIRECTION TO THE CLERK OF COURT
                     FOR REASSIGNMENT OF RELATED CASE

       Case No.16-cv-908 (JNE/TNL) having been assigned to Judge Joan N. Ericksen and Case

No. 18-cv-326 (PAM/SER) having later been assigned to Judge Paul A. Magnuson, and said

matters being related cases,

       IT IS HEREBY ORDERED that Case No. 18-cv-326 (PAM/SER) be assigned to Judge

Joan N. Ericksen and Magistrate Judge Tony N. Leung, nunc pro tunc, by use of a card from the

appropriate deck in the automated case assignment system. The Clerk of Court is directed to
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reuse a card from the same deck from which the original assignment was made pursuant to the

Court’s Assignment of Cases order filed July 5, 2017.

        IT IS FINALLY ORDERED that a copy of this order shall be filed in each of the above

respective files.



Dated: February 6, 2018

                                                         s/ Joan N. Ericksen
                                                         JOAN N. ERICKSEN
                                                         United States District Judge



Dated: February 8, 2018
                                                         s/ Paul A. Magnuson
                                                         PAUL A. MAGNUSON
                                                         United States District Court
